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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER SCOTT,            )              ORDER AND JUDGMENT
                              )
               Defendant.     )
______________________________)


            Pursuant to the memorandum opinion entered herein this

date,

            IT IS ORDERED that defendant’s request for

reconsideration based on a misinterpretation of the Fair

Sentencing Act as clarified by Congress in H.R. 6548; renewed

request for modification of sentence pursuant to 18 U.S.C.

§ 3582(c)(2) (Filing No. 1179) is denied.

            DATED this 1st day of April, 2011.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
